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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

MALIBU MEDIA, LLC,                                    )
                                                      )
               Plaintiff,                             )
                                                      )
       v.                                             )      18 C 1618
                                                      )
GERMOND CHE PATTON,                                   )      Judge John Z. Lee
                                                      )
               Defendant.                             )

                                               ORDER

       Plaintiff Malibu Media, LLC has sued Defendant Germond Che Patton for copyright

infringement under 17 U.S.C. § 101 et seq. Specifically, Plaintiff alleges that Defendant downloaded,

copied, and distributed nine of Plaintiff’s copyrighted motion pictures without authorization. Plaintiff

has moved for summary judgment and has provided Defendant with a “Notice to Pro Se Litigant

Opposing Motion for Summary Judgment” pursuant to Local Rule 56.2. Nonetheless, Defendant has

failed to respond to the motion. For the reasons below, the motion is granted [47]. Plaintiff shall move

for entry of judgment regarding statutory damages, injunctive relief, and attorneys’ fees and costs by

November 15, 2019. Status hearing set for 11/19/19 at 9:00 a.m.

                                            STATEMENT

I.     Factual Background

        The following facts are deemed admitted due to Defendant’s failure to respond to Plaintiff’s

summary judgment motion or statement of facts under Local Rule 56.1. See Flint v. City of Belvidere,

791 F.3d 764, 767 (7th Cir. 2015) (stating that the Seventh Circuit has “consistently upheld district

judges’ discretion to require strict compliance with Local Rule 56.1”). In addition, the facts are deemed

admitted because Defendant failed to respond to Plaintiff’s requests for admissions. See United States

v. Kasuboski, 834 F.2d 1345, 1349–50 (7th Cir. 1987) (“Rule 36(a) of the Federal Rules of Civil
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Procedure clearly provides that a party must answer each matter for which an admission is requested

within 30 days or the matter is deemed admitted.”); see also Pl.’s Ex. A, Requests for Admission

(“Requests for Admission”) (warning that “[i]f Defendant fails to respond or object to any of the

requests within thirty (30) days of service of this Request, the matter shall be deemed admitted under

Rule 36(a)(3).”), ECF No. 48-1.

          Plaintiff is the only registered owner of the copyrights to nine motion pictures (“the works”)

identified by Copyright Registration Numbers PA0002094797, PA0002050594, PA0002078611,

PA0001957700,         PA0002078047,       PA0002042063,        PA0002042072,        PA0001846087,        and

PA0001846099.        See Pl.’s LR 56.1(a)(3) Stmt. ¶¶ 1, 5, ECF No. 48; Pl.’s Ex. B, Copyright

Registrations, ECF No. 48-2. Without Plaintiff’s permission, Defendant used the BitTorrent network

to download and distribute the works. Pl.’s LR 56.1(a)(3) Stmt. ¶¶ 2–3, 6; Requests for Admissions

¶¶ 2–4.

          BitTorrent is a peer-to-peer file transfer protocol for sharing large amounts of data over the

internet, in which each part of a file downloaded by a user is transferred to other users. Requests for

Admissions, Definitions ¶ 1. BitTorrent users then interact directly with one another to exchange these

small pieces with each other. Id. After a user receives all of the pieces of a digital media file, the user’s

BitTorrent software client reassembles the pieces so that the file may be opened and viewed. Id. There

is no license, terms, agreement, or advertisement on the BitTorrent network that would imply that

Plaintiff authorized Defendant to copy, download, or distribute the works. Pl.’s LR 56.1(a)(3) Stmt.

¶ 5; Requests for Admissions ¶ 5. Moreover, Defendant admits that using the BitTorrent file-sharing

protocol to download and distribute Plaintiff’s copyrighted works without its authorization constitutes

copyright infringement. Pl.’s LR 56.1(a)(3) Stmt. ¶¶ 7–8; Requests for Admissions ¶¶ 7–8.




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II.    Standard of Review

       Summary judgment is appropriate if “the movant shows that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). To

survive summary judgment, the nonmoving party must “establish some genuine issue for trial such that

a reasonable jury could return a verdict in her favor.” Gordon v. FedEx Freight, Inc., 674 F.3d 769,

772–73 (7th Cir. 2012). “Admissions made under Rule 36, even default admissions, can serve as the

factual predicate for summary judgment.” Kasuboski, 834 F.2d at 1350; see Fed. R. Civ. P. 56(c)(1)(A)

(allowing a party to rely on admissions to show that a fact is not disputed).

III.   Analysis

       “To establish copyright infringement, [a party] must prove two elements: ‘(1) ownership of a

valid copyright, and (2) copying of constituent elements of the work that are original.’” JCW Invs.,

Inc. v. Novelty, Inc., 482 F.3d 910, 914 (7th Cir 2007) (quoting Feist Pubs., Inc. v. Rural Tel. Serv. Co.,

Inc., 499 US 340, 361 (1991)).

       First, it is undisputed that Plaintiff owns a valid copyright in the nine motion pictures and that

each work is registered with the United States Copyright Office. See Pl.’s LR 56.1(a)(3) Stmt. ¶¶ 1, 5;

Pl.’s Ex. B, Copyright Registrations. Second, it is undisputed that, without Plaintiff’s permission,

Defendant copied elements of the works at issue by downloading and distributing the works through

his use of the BitTorrent file-sharing protocol. See Pl.’s LR 56.1(a)(3) Stmt. ¶¶ 2–3, 6, 7–8; Requests

for Admissions ¶¶ 2–4, 7–8. Because there is no genuine dispute as to any material fact, Plaintiff’s

motion for summary judgment is granted.



Date: 10/31/19                                          /s/ John Z. Lee




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